219 F.2d 300
    15 Alaska 448
    James A. WILLIAMS, Petitioner,v.UNITED STATES of America, Respondent.
    Misc. No. 417.
    United States Court of Appeals, Ninth Circuit.
    Feb. 10, 1955.
    
      James A. Williams, Steilacoom, Wash., in pro. per.
      No appearances for respondent.
      Before DENMAN, Chief Judge and HEALY and BONE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Williams has forwarded to this court a notice of appeal from an order of the United States District Court for the District of Alaska, denying his motion to vacate sentence pursuant to 28 U.S.C. 2255, and a petition for a writ of certiorari seeking to cause the sending of certain documents to be used on an appeal.
    
    
      2
      It nowhere appears that any notice of appeal was filed in the District Court as required by Rule 73 Federal Rules of Civil Procedure, 28 U.S.C.  The notice and petition are ordered dismissed.
    
    